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                                                                                  EXHIBIT D


STATE OF MAINE                                                  SUPERIOR COURT
CUMBERLAND, ss.                                                 CIVIL ACTION
                                                                DOCKET NO.

MAINE MEDICAL CENTER, INC.,

     Plaintiff

v.                                                              COMPLAINT

GENERAL REINSURANCE CORPORATION,              )

     Defendant



          NOW COMES the Plaintiff Maine Medical Center, Inc., by and through its counsel,

and states in support of its Complaint as follows:

          1.     Maine Medical Center, Inc. ("MMC") is a non-profit corporation formed

under the laws of the State of Maine with its principal place of business in the City of

Portland, County of Cumberland, State of Maine.

          2.     The Defendant General Reinsurance Corporation ("GRC") is an insurer

organized under the laws of the State of Connecticut with its principal place of business

in Stamford, Connecticut.

          3.     GRC had issued an Excess Insurance Policy for Self-Insurer of Workers'

Compensation and Employer Liability policy to MMC with effective dates of April 16,

1995 to January 1, 2001 with policy number X-14254-GDX014254D.
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        4.    GRC also issued Excess Insurance Policy for Self-Insurer of Workers'

Compensation and Employer Liability, policy number GDX014390 to MaineHealth, Inc.,

effective from January 1, 2001 to January 1, 2003, which policy included MMC as a

named insured per Endorsement No. 1.

        5.    In 2004, Judy Lindeman, a former employee of MMC, filed multiple

Petitions for Award of Compensation under the Maine Workers Compensation Act

alleging a number of different dates of injury.

        6.    Following a hearing, a Decree was issued on May 9, 2006 finding that

Lindeman had sustained a work-related injury on October 1, 1997 and on December 7,

2000.

        7.    The Decree granted the Petition for Award on the October 1, 1997 date of

injury and awarded the employee "the protection of the Act for that injury to both

arms." As concerns the Petition for Award on the December 7, 2000 date of injury, the

Decree awarded the employee the protection of the Act and "entitlement to payment of

total incapacity benefits ... from March 8, 2004 to the present and continuing ... ."

        8.    MMC has paid Lindeman total incapacity benefits from March 8, 2004 to

the present with those payments continuing. The total indemnity (wage) benefit

payments through May 8, 2021 are $571,993.65 and $18,528.61 for medical expenses

through May 13, 2021.




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      9.     The excess policy issued by GRC had an insured's retention for each

accident or each employee for disease of $500,000.

      10.    MMC made a demand upon GRC to reimburse MMC for all payments

made in excess of the $500,000 retention.

       10.   GRC has denied MMC's demand for reimbursement on the basis that it

believes two separate retentions apply, and MMC has not demonstrated an allocation

of the total payments to the two separate injury dates resulting in a payment above the

retention.

       11.   All of the payments made by MMC are properly allocated to the December

2000 injury date, thereby obligating GRC to reimburse MMC for any payments made

above the $500,000 retention and entitling MMC to an order requiring GRC to assume

all future additional workers' compensation obligations to Lindeman.

       13.   GRC's failure to reimburse MMC the amounts paid above the $500,000

retention constitutes a breach of its contractual obligations to MMC.

       14    In the event it is determined, contrary to MMC's position, that the

payments to Lindeman must be allocated to the two separate injury dates, MMC

requests that that allocation be made and judgment entered in MMC's favor to the

extent it has made any payment above the retention, and a declaration regarding GRC's

obligation to reimburse MMC for future payments.




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      WHEREFORE, MMC respectfully requests that judgment be entered in favor of

MMC for (1) the total amount of workers' compensation benefits paid in excess of the

$500,000 retention as of the date of judgment, plus interest, costs, and attorney's fees;

(2) a declaration that GRC is obligated to reimburse MMC for any payments to Lindeman

in the future; and (3) such other relief as the Court may deem appropriate.



       DATED at Portland, Maine, this 26th day of May 2021.




                                  James D. Poliquin (Bar No. 2474)
                                  Attorney for Plaintiff



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